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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                       )           Chapter 11
REPUBLIC METALS REFINING                                     )
CORPORATION, et al., 1                                       )           Case No. 18-13359 (shl)
                                                             )
                                 Debtors.                    )           (Jointly Administered)


                                 ORDER ON DEBTORS’ MOTION TO
                               AUTHORIZE CHANGE OF CASE CAPTION

           This matter came before the Court on presentment [Doc. No. 860] upon the ex-parte motion

(the “Motion”) 2 dated March 20, 2019 [Doc. No. 848] of Republic Metals Refining Corporation

and its debtor affiliates (collectively, the “Debtors”), as debtors and debtors in possession in the

above-captioned chapter 11 cases (the “Chapter 11 Cases” or “Cases”), seeking an Order pursuant

to section 105(a) of the Bankruptcy Code; Bankruptcy Rules 1005, 2002(m), and 2002(n);

authorizing the Debtors to change the case captions used in the Chapter 11 Cases; and it appearing

that the Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this proceeding

being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and no objections having been filed;

and it further appearing that the relief requested in the Motion is authorized by the Sale Order and

is in the best interests of the Debtors’ estates, creditors, and other parties-in-interest, and upon all

of the proceedings had before the Court; and after due deliberation and cause appearing;

IT IS HEREBY ORDERED THAT:

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW
38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
2
    All capitalized terms not defined herein shall have the definitions set forth in the Motion.


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         1.    The Motion is GRANTED as set forth herein.

         2.    The Clerk of the Court is authorized and directed to modify the docket of Case No.

18-13359 (shl) with the Debtors’ new names as soon as possible.

         3.    Effective as of the date hereof, the new caption of the jointly administered Chapter

11 Cases shall read as follows:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                           )         Chapter 11
                                                 )
MIAMI METALS I, INC., et al.1                    )         Case No. 18-13359 (shl)
                                                 )
                          Debtors.               )         (Jointly Administered)



        FN 1: The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's
federal tax identification number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining
Corporation), 15 West 47th Street, Suites 206 and 209, New York, NY 10036 (3194); Miami
Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th Avenue, Miami, FL 33054
(4378); Miami Metals III LLC (f/k/a Republic Carbon Company), LLC, 5295 Northwest 163rd
Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC,
12900 NW 38th Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals,
LLC), 12900 NW 38th Avenue, Miami, FL 33054 (7848); Miami Metals VI (f/k/a RMC
Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (1507); Miami Metals VII (f/k/a
RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696); Miami Metals VIII (f/k/a
Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102), 12900 NW
38th Avenue, Miami, FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276
Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China (1639); and Republic Trans Mexico
Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero Edificio Central,
Delegación Cuauhtémoc, Mexico DF 6000 (2942).

         1.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13359 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the

corporate name change of Republic Metals Refining Corporation to Miami Metals I, Inc.” In




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addition, the Clerk of the Court is authorized and directed to modify the docket of Case No. 18-

13359 (shl) with the Debtor’s new name as soon as possible.

         2.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13360 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the

corporate name change of Republic Metals Corporation to Miami Metals II, Inc.” In addition, the

Clerk of the Court is authorized and directed to modify the docket of Case No. 18-13360 (shl) with

the Debtor’s new name as soon as possible.

         3.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13361 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the

corporate name change of Republic Carbon Company to Miami Metals III LLC.” In addition, the

Clerk of the Court is authorized and directed to modify the docket of Case No. 18-13361 (shl) with

the Debtor’s new name as soon as possible.

         4.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13642 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the

corporate name change of J&L Republic, LLC to Miami Metals IV LLC.” In addition, the Clerk

of the Court is authorized and directed to modify the docket of Case No. 18-13642 (shl) with the

Debtor’s new name as soon as possible.

         5.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13643 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the




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corporate name change of R & R Metals, LLC to Miami Metals V LLC.” In addition, the Clerk of

the Court is authorized and directed to modify the docket of Case No. 18-13643 (shl) with the

Debtor’s new name as soon as possible.

         6.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13639 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the

corporate name change of RMC Diamonds LLC to Miami Metals VI LLC.” In addition, the Clerk

of the Court is authorized and directed to modify the docket of Case No. 18-13639 (shl) with the

Debtor’s new name as soon as possible.

         7.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13641 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the

corporate name change of RMC2, LLC to Miami Metals VII LLC.” In addition, the Clerk of the

Court is authorized and directed to modify the docket of Case No. 18-13641 (shl) with the Debtor’s

new name as soon as possible.

         8.    The Clerk of the Court is authorized and directed to make a docket entry in Case

No. 18-13638 (shl) as soon as possible that states substantially as follows: “An order has been

entered in this case directing that the caption of this case be changed, in accordance with the

corporate name change of Republic High Tech Metals, LLC to Miami Metals VIII LLC.” In addition,

the Clerk of the Court is authorized and directed to modify the docket of Case No. 18-13638 (shl)

with the Debtor’s new name as soon as possible.

         9.    The name changes pursuant to the Motion, this Order, and any filings with

applicable governmental offices are for administrative purposes only. Nothing herein or as a result




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of the name changes pursuant to the Motion, this Order, and any filings with applicable

governmental offices shall impact or modify the prepetition rights, claims, liens, and other interests

held by creditors and parties in interest in these Cases.

         10.   Any recorded liens or UCC-1 filings existing as of the Petition Date filed in regards

to the Debtors shall remain effective for perfection purposes notwithstanding the name changes

pursuant to the Motion, this Order, and any filings with applicable governmental offices. No

creditor need take any additional steps, including but not limited to, amending or filing new state

UCC-1 filings, to protect their prepetition interests in these Cases.

         11.   The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

         12.   This Court shall retain jurisdiction to hear and determine all matters arising from

the implementation and/or interpretation of this Order.

         13.   This Order shall be effective immediately upon entry by the Court.

Dated: New York, New York
       April 3, 2019

                                              /s/ Sean H. Lane
                                              HONORABLE SEAN H. LANE
                                              UNITED STATES BANKRUPTCY JUDGE




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